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                     EXHIBIT “I”
  Case 1:20-cv-04669-GBD-VF Document 65-8 Filed 03/08/21 Page 2 of 4




                                    INIGO PHILBRICK LTD.
                                        5 G rosvenor Street
                                     Mayfair, London W1K 3HY


                                         TRANSFER OF TITLE
        For good and valuable consideration, the receipt and sutliciency of \\·hich are hereb)'

acknowledged and is set fonh on the in..,oice attached hereto. on 7-April-~017, INIGO PIii LARiCK LTD.

(a limited liability company registered in 1:ngland and Wales under compan:y number 09053929 with a

principal place of business at 5 Grosvenor Street, Mayfair. London. WIK 3H Y) transferred to I 8

BOXWOOD GREEN LIMTED (a limited liability company incorporated under the laws of Jerse)

(compan> number I 19821) having a registered office at First Floor. 7 Esplanade. St Helicr. Jerse) JE~

3QA) all right. title and interest to and in the anwork listed in Schedule A attached hereto.




                                                           l.'\l(;O PHILBRICK LTD.


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                                                           Telephone o?'?l9 41.5° ?it-I
                                                           Email: Si~G> ;~J•r-,;{ofld<. UM\
  Case 1:20-cv-04669-GBD-VF Document 65-8 Filed 03/08/21 Page 3 of 4




                                              SCHEDULE A


Jean Michel Basquial, Humidity (1982), 96" x 72"
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IN IGO PH I LBR ICK

Ra,se d. 7 April 2017




                                                                                 INVOICElnv. 377
Inigo Philbrick Limited                                                          18 Boxwcod Green limite d
22 Dav ies Street                                                                First Floor
London                                                                           7 Esplarade
Wl K .~DF                                                                        St Helier
United Kingdom                                                                   JE2 3QA
                                                                                 Jersey




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Hum1d1ty. 1982
Au y ltl. oil'.>lick. dJIC Xercx :.:o,la<,:e on urnva'.>
243.8 x 1 82.9 crn (96 x 72 in .)




                                                           Sub Total                           12,500,000 USD


                                                           Tax Out of ECC (0%)                           0 USO


                                                           Balance                             12.500.000 USO




Bank: Srintnnder
Account Name: Inigo Philbri::k Lt d
Account Number: 00053379
Sort Code: 09 07 15
IBAN: GB06ABBY09071500Qj3379
Swift Code: ABBYGB2l



Company Number: 09053929
VAT Number: GB19259926:.



Addit onal Notes
Zero-rated for VAT. artwor k in USA at ti'ne of sale
